         Case 4:20-cv-01434-JST Document 147-5 Filed 11/30/23 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10

11   JUAN ALCAZAR, individually and on behalf           Case No. 4:20-cv-01434-JST
     of all others similarly situated,
12                                                      Assigned to Hon. Jon S. Tigar
                          Plaintiff,
13          v.                                          [PROPOSED] ORDER GRANTING
                                                        DEFENDANT FASHION NOVA, INC.’S
14   FASHION NOVA, INC., a California                   MOTION TO EXCLUDE EXPERT
     Corporation, and DOES 1 to 10, inclusive,          OPINIONS OF ROBERT MOODY
15
                          Defendants.                   [Filed concurrently with Motion to Exclude
16                                                      Expert Opinions of Robert Moody and
                                                        Declaration of Eric B. Schwartz]
17

18

19

20

21

22

23

24

25

26

27

28

                                                                               Case No. 4:20-cv-01434-JST
         [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO EXCLUDE EXPERT OPINIONS OF ROBERT MOODY
                        Case 4:20-cv-01434-JST Document 147-5 Filed 11/30/23 Page 2 of 2




               1                                        [PROPOSED] ORDER

               2           Upon consideration of Fashion Nova, Inc.’s (“Fashion Nova”) Motion to Exclude the Expert

               3    Opinions of Robert Moody (“Motion”), the parties’ submissions and arguments in support, and other

               4    materials properly before the Court, IT IS HEREBY ORDERED that the Motion is [GRANTED /

               5    DENIED].

               6           IT IS SO ORDERED.

               7

               8    Dated: __________________, 2023
                                                               HON. JON S. TIGAR
               9                                               United States District Judge
             10

             11

             12

             13

             14

             15

             16

             17

             18

             19

             20

             21

             22

             23

             24

             25

             26

             27

             28

4861-7582-8628v.1                                                                             Case No. 4:20-cv-01434-JST
                        [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO EXCLUDE EXPERT OPINIONS OF ROBERT MOODY
